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                                                                                     7 California Bank & Trust

                                                                                     8
                                                                                                                    UNITED STATES BANKRUPTCY COURT
                                                                                     9
                                                                                                                    NORTHERN DISTRICT OF CALIFORNIA
FRANDZEL ROBINS BLOOM & CSATO, L.C.




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                                                                                                                              SAN JOSE DIVISION
                                      1000 WILSHIRE BOULEVARD, NINETEENTH FLOOR




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                                         LOS ANGELES, CALIFORNIA 90017-2427




                                                                                    12
                                                                                         In re                                            Case No. 21-50028-SLJ
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                                                                                         EVANDER FRANK KANE,                              Chapter 7
                                                                                    14
                                                                                                        Debtor.                           OBJECTION BY CREDITOR ZIONS
                                                                                    15                                                    BANCORPORATION, N.A. TO DEBTOR
                                                                                                                                          EVANDER FRANK KANE’S
                                                                                    16                                                    HOMESTEAD EXEMPTION
                                                                                    17                                                    Date:    May 4, 2021
                                                                                                                                          Time:    2:00 p.m. PDT
                                                                                    18                                                    Place:   Courtroom 9
                                                                                                                                                   San Jose, California*
                                                                                    19
                                                                                                                                          *(Pursuant to Fifth Amended General
                                                                                    20                                                    Order 38, The Hearing Will be Held by
                                                                                                                                          Zoom as a Video Hearing.)
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                                                                                    1            TO: THE HONORABLE STEPHEN L. JOHNSON, UNITED STATES
                                                                                    2 BANKRUPTCY JUDGE, PARTIES IN INTEREST, AND THEIR COUNSEL:

                                                                                    3            Zions Bancorporation, N.A., dba California Bank & Trust (“Zions”), hereby objects to the

                                                                                    4 homestead exemption claimed by the chapter 7 debtor Evander Frank Kane (“Kane”). For the

                                                                                    5 reasons set forth in the following memorandum of points and authorities, Zions requests that the

                                                                                    6 Court enter an order disallowing Kane’s homestead exemption in its entirety under 11 U.S.C.

                                                                                    7 § 522(o) or, alternatively, reducing Kane’s homestead significantly under § 522(p).

                                                                                    8

                                                                                    9 I.         Introduction
FRANDZEL ROBINS BLOOM & CSATO, L.C.




                                                                                   10            Just months before filing chapter 7, Kane siphoned $600,000.00 in nonexempt equity from
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                                                                                   11 his two properties in Canada and funneled those funds to a Florida shell entity to be used as a
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                                                                                   12 partial down payment on a multi-million dollar residence in San Jose. Then, Kane shielded that

                                                                                   13 value by invoking a $600,000.00 exemption under California’s newly-augmented homestead
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                                                                                   14 exemption. This plan was developed while Kane was represented by prominent bankruptcy

                                                                                   15 counsel and while landmark homestead legislation was coursing through the California legislature.

                                                                                   16 Critically, Kane’s actions—shielding of $600,000.00 in otherwise available assets at a time while

                                                                                   17 he was hopelessly insolvent, being sued from all sides, and racking up $1.5 million in gambling

                                                                                   18 losses—meet all the hallmarks to demonstrate his specific intent to hinder, delay, or defraud his

                                                                                   19 creditors. The Court should enter an order disallowing Kane’s $600,000.00 homestead in its

                                                                                   20 entirety under § 522(o) or, alternatively, reducing it in accordance with § 522(p) of the Bankruptcy

                                                                                   21 Code.

                                                                                   22

                                                                                   23 II.        Jurisdiction
                                                                                   24            Kane filed a voluntary chapter 7 petition on January 9, 2021, which filing constituted an

                                                                                   25 order for relief. 11 U.S.C. § 301(b). This Court has jurisdiction to hear and determine this

                                                                                   26 objection pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C.

                                                                                   27 §§ 157(b)(2)(A), (B), and (O), which this Court has authority to hear and determine by final order.

                                                                                   28

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                                                                                    1 III.       Relevant Facts
                                                                                    2            The following facts are relevant to this exemption objection. Additional background facts

                                                                                    3 may be found in Zion’s Motion to Convert to Chapter 11 and Appoint Chapter 11 Trustee

                                                                                    4 (“Motion to Convert”) (Dkt. 33 at ¶ II.).1

                                                                                    5            A.        Zions Sues Kane, and Kane Hires Bankruptcy Counsel After Becoming
                                                                                    6                      Concerned Over His Ability to Meet his Debt Obligations.
                                                                                    7            Kane states that in October 2019 he hired Pachulski Stang Ziehl & Jones LLP (“Pachulski

                                                                                    8 Stang”) because of his concern over his inability to meet his debt obligations and to provide for

                                                                                    9 restructuring of his debts and a feasible payment plan. Declaration of Evander Kane “Kane Decl.”
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                                                                                   10 Dkt. 65-1 at 2:23-25.
                                      1000 WILSHIRE BOULEVARD, NINETEENTH FLOOR




                                                                                   11            On December 20, 2019, Zions sued Kane in Santa Clara Superior Court for, among other
                                         LOS ANGELES, CALIFORNIA 90017-2427




                                                                                   12 things, his payment and covenant defaults under the governing loan documents. In February of

                                                                                   13 2020, Kane, though his counsel at Pachulski Stang, appeared in the Zions action.
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                                                                                   14            B.        Kane Forms Florida Limited Liability Company.
                                                                                   15            On May 26, 2020, Evander Kane (“Kane”) formed a Florida limited liability company

                                                                                   16 named Lions Properties, LLC (“Lions Properties”) in which he and his wife, Deanna Kane, were

                                                                                   17 managers and 100% interest-holders. See Declaration of Gerrick M. Warrington (“Warrington

                                                                                   18 Decl.”) Exh. 1, Florida SOS Corporate Filing; Schedule B (Dkt. 1 at 14 of 73).

                                                                                   19            C.        Kane Siphons $600,000.00 in Non-Exempt Equity from the Canadian
                                                                                   20                      Properties and Uses it for a Partial Down Payment on Residence, Transferring
                                                                                   21                      Title to the Florida LLC.
                                                                                   22            In August 2020, Kane states that he purchased his residence located at 2301 Richland

                                                                                   23 Avenue, in San Jose, CA 95125 (“Residence”). See Warrington Decl., Exh. 2, Meeting of

                                                                                   24 Creditors Transcript (“MOC”) at 25:12-15. He states, however, that Lions Properties took title to

                                                                                   25

                                                                                   26            1
                                                                                               Zions requests that the Court take judicial notice of the bankruptcy court filings
                                                                                      referenced herein per Fed. R. Evid. 201, including the Motion to Convert (Dkt. 33), the Petition,
                                                                                   27
                                                                                      Schedules, Amended Schedules, and Statement of Financial Affairs (Dkts. 1, 17, 18, 19, and 37),
                                                                                   28 the Motion to Approve Settlement (Dkt. 42), and the Kane Decl. (Dkt. 65-1).

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                                                                                    1 the Residence at that time. Warrington Decl., Exh. 2, MOC at 25:16-18. A grant deed dated March

                                                                                    2 8, 2020, and recorded on August 21, 2020, reflects that the Residence was transferred to Lions

                                                                                    3 Properties. See Warrington Decl., Exh. 3. Kane admits that he formed Lions Properties “for the

                                                                                    4 sole purpose of taking title to the [Residence].” Warrington Decl., Exh. 5, Recital B to Settlement

                                                                                    5 Agreement, Dkt. 42-1 at 5 of 10 (highlighted).

                                                                                    6            Kane states that he made a $600,000.00 partial down payment on the Residence from loan

                                                                                    7 proceeds sourced from a $600,000.00 loan he obtained, apparently in August 2020, from 1000568

                                                                                    8 B.C. Ltd. (“Loan”). See Sch. D Dkt. 18 (reflecting $600,000.00 loan in U.S. dollars); cf.

                                                                                    9 Warrington Decl., Exh. 6, MOC at 24:13-24 (stating that the Loan was in “Canadian funds”).
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                                                                                   10            Kane states the Loan was cross-collateralized and secured by junior liens (which Kane
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                                                                                   11 describes as “second mortgages”) on Kane’s two real properties in Canada, namely, the property
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                                                                                   12 located at 3457 West 35th Avenue, Vancouver, BC Canada (“35th Avenue Property”) and 8447

                                                                                   13 Isabel Place, Vancouver, BC Canada (“Isabel Place Property” and together with 35th Avenue
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                                                                                   14 Property, the “Canadian Properties”). Sch. A/B, D Dkt. 18; Warrington Decl., Exh. 6, MOC at

                                                                                   15 24:16-18. Schedule D reflects that Kane is an obligor on the Loan along with another entity or

                                                                                   16 person.

                                                                                   17            Kane states that he is the sole owner of the Isabel Place Property and that he jointly owns

                                                                                   18 the 35th Avenue Property jointly with his mom, Sherri Lynn Kane. Warrington Decl., Exh. 7,

                                                                                   19 MOC at 29:16-22; 30:14-18; see also Sch. D Dkt. 18. Kane states that his parents reside at the

                                                                                   20 Isabel Place Property, that the 35th Avenue Property is vacant, and Kane pays the mortgages and

                                                                                   21 neither Canadian Property produces income. Warrington Decl., Exh. 8, MOC at 18:3-7; 18:18-20;

                                                                                   22 62:25-63:7. Kane states that the 35th Avenue Property was previously rented out (before it became

                                                                                   23 vacant); MOC at 18:22.

                                                                                   24            Kane states that he used the Loan proceeds as a partial down payment on his Residence.

                                                                                   25 Warrington Decl., Exh. 6, MOC at 24:24 (stating that the $600,000 loan proceeds were used “as

                                                                                   26 part of the down payment on my home here in San Jose”); see also Sch. D Dkt. 18.

                                                                                   27            Kane states that he lived at the Residence before he bought it in August of 2020 and that he

                                                                                   28 rented his prior address at 334 Santa Row. Warrington Decl., Exh. 9, MOC at 46:15-47:2.

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                                                                                    1            D.        Kane Transfers the Residence from the LLC to Himself and his Wife on the
                                                                                    2                      Eve of Filing Chapter 7.
                                                                                    3            On January 8, 2021, Kane recorded a quitclaim deed transferring the Residence from Lions

                                                                                    4 Properties to Kane and his wife “as husband and wife as community property with right of

                                                                                    5 survivorship.” Warrington Decl., Exh. 4, at 10-12.

                                                                                    6            E.        Kane Files Chapter 7.
                                                                                    7            On January 9, 2021, Kane filed a voluntary chapter 7 bankruptcy petition. Kane states that

                                                                                    8 Lions Properties has no assets and it is no longer operating. Sch. A/B Dkt. 37 at 6 of 11;

                                                                                    9 Warrington Decl., Exh. 10, MOC at 20:7-10.
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                                                                                   10            F.        At Kane’s Meeting of Creditors, He Answers Some, but not All, Questions
                                      1000 WILSHIRE BOULEVARD, NINETEENTH FLOOR




                                                                                   11                      About the Pre-Bankruptcy Exemption Planning Scheme.
                                         LOS ANGELES, CALIFORNIA 90017-2427




                                                                                   12            When asked by the Trustee about the transfer—“why did Lions Properties transfer title to

                                                                                   13 you just before you filed for bankruptcy?”—Kane’s counsel objected on the basis of attorney-
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                                                                                   14 client privilege and instructed Kane not to answer. MOC at 26:3-9. The meeting of creditors

                                                                                   15 concluded on February 23, 2021. See 2/23/2021 Unnumbered Docket Entry.

                                                                                   16            G.        Kane Invokes California’s Newly-Enhanced Homestead Exemption, While
                                                                                   17                      Disclosing Massive Gambling Losses and Balance Sheet Insolvency While
                                                                                   18                      Being Sued by Numerous Creditors.
                                                                                   19            Kane’s schedules reflect that his Residence is worth $3,000,000.00 and is encumbered by a

                                                                                   20 $2,320,000.00 first mortgage, leaving $680,000.00 in equity as of the petition date. Sch. D Dkt.

                                                                                   21 18. In the Schedule C filed on January 9, 2021 (Dkt. 1), Kane claims a $600,000.00 homestead

                                                                                   22 exemption in the Residence pursuant to California Code of Civil Procedure (“CCP”) § 704.730.

                                                                                   23            Kane’s statement of financial affairs reflects $1.5 million in gambling losses within 1 year

                                                                                   24 of the petition date as well as 9 different lawsuits for breach of contract and fraud, among other

                                                                                   25 things, pending within the 1 year preceding his bankruptcy filing. See Statement of Financial

                                                                                   26 Affairs Dkt. 19 at 4 and 6 of 9.

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                                                                                   1            Kane’s summary of assets and liabilities reflects that Kane is balance sheet insolvent, with

                                                                                   2 total assets of $10,224,743.65 and total liabilities of $26,837,340.00. See Summary of Assets and

                                                                                   3 Liabilities Dkt. 1 at 8 of 73.

                                                                                   4

                                                                                   5 IV.        Argument
                                                                                   6            As analyzed below, Kane’s invocation of California’s newly-enacted homestead exemption

                                                                                   7 comes squarely within the ambit of 11 U.S.C. § 522(o) and, alternatively, § 522(p). As discussed

                                                                                   8 below, the Could should enter an order disallowing Kane’s homestead exemption in its entirety,

                                                                                   9 reducing it from $600,000.00 to $0.00 under § 522(o) or, alternatively, reducing it significantly
FRANDZEL ROBINS BLOOM & CSATO, L.C.




                                                                                  10 under § 522(p).
                                      1000 WILSHIRE BOULEVARD, NINETEENTH FLOOR




                                                                                  11            A.        Standards Governing Exemptions Generally.
                                         LOS ANGELES, CALIFORNIA 90017-2427




                                                                                  12            Under 11 U.S.C. § 541(a),2 the commencement of a bankruptcy case creates a bankruptcy

                                                                                  13 estate comprising of, among other things, “all legal or equitable interests of the debtor in property
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                                                                                  14 as of the commencement of the case.” The Bankruptcy Code generally allows a debtor to exempt

                                                                                  15 certain property from the bankruptcy estate in order to avoid distribution to the estate’s creditors.

                                                                                  16 See Taylor v. Freeland & Kronz, 503 U.S. 638, 642 (1992).

                                                                                  17            A debtor’s exemptions are fixed as of the petition date pursuant to the “snapshot rule.”
                                                                                  18 Wolfe v. Jacobson (In re Jacobson), 676 F.3d 1193, 1199 (9th Cir. 2012) (citing White v. Stump,

                                                                                  19 266 U.S. 310, 313 (1924)). Under § 522(b)(3)(A), exemptions are to be determined in accordance

                                                                                  20 with the state law applicable on the date of filing. In re Jacobson, 676 F.3d at 1199. The entire

                                                                                  21 state law applicable on the petition date determines whether an exemption applies. Id.

                                                                                  22            B.        Standards Governing the Burden of Proof.
                                                                                  23            Generally, the burden of proof is a substantive element of state law applicable in federal

                                                                                  24 cases when state law is applied. See Raleigh v. Illinois Dep’t of Revenue, 530 U.S. 15, 20-21

                                                                                  25 (2000). Accordingly, debtors claiming California exemptions, generally carry the burden to prove

                                                                                  26

                                                                                  27            2
                                                                                              Unless otherwise specified, references to “§” refer to the Bankruptcy Code at Title 11 of
                                                                                  28 the United States Code.

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                                                                                   1 his or her entitlement to the exemption in a bankruptcy case. In re Diaz, 547 B.R. 329, 337

                                                                                   2 (B.A.P. 9th Cir. 2016) (citing In re Tallerico, 532 B.R. 774, 788 (Bankr. E.D. Cal. 2015); In re

                                                                                   3 Pashenee, 531 B.R. 834, 837 (Bankr. E.D. Cal. 2015)); but see Fed. R. Bankr. P. 4003(c); Carter

                                                                                   4 v. Anderson (In re Carter), 182 F.3d 1027, 1029 n. 3 (9th Cir. 1999), overruled on this point by

                                                                                   5 Raleigh v. Illinois Dep’t of Revenue, 530 U.S. at 20-21 as noted in In re Diaz, 547 B.R. at 337.

                                                                                   6            In the context of a California homestead exemption, under CCP § 704.780(a), the burden

                                                                                   7 to show a debtor’s entitlement to a homestead exemption rests with the debtor, unless a declared

                                                                                   8 homestead has been recorded. In re Nolan, 618 B.R. 860, 865 (Bankr. C.D. Cal. 2020), aff’d, No.

                                                                                   9 5:20-CV-01496-MCS, 2021 WL 528679 (C.D. Cal. Feb. 12, 2021). Where a debtor cites CCP
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                                                                                  10 § 704.730 in his schedules and relies on the automatic homestead exemption, under CCP
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                                                                                  11 § 704.780(a), the burden of proving entitlement to the automatic homestead rests on the debtor. Id.
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                                                                                  12            Here, Kane’s amended schedules reflect that he is claiming a $600,000.00 homestead

                                                                                  13 exemption in the Residence pursuant to the automatic homestead exemption under CCP
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                                                                                  14 § 704.730. See Amended Sch. C Dkt. 37 at 10 of 11. And, the records of the Santa Clara tax

                                                                                  15 assessor do not indicate any declared homestead exemption. See Tax Assessor Printout,

                                                                                  16 Warrington Decl., Exh. 12. Therefore, Kane carries the burden of proof to establish his entitlement

                                                                                  17 to the claimed homestead exemption.

                                                                                  18            C.        Standards Governing § 522(o).
                                                                                  19            Section 522(o) provides, in pertinent part, as follows:

                                                                                  20            (o) For purposes of subsection (b)(3)(A), and notwithstanding subsection (a), the
                                                                                                value of an interest in—
                                                                                  21
                                                                                                          ….
                                                                                  22
                                                                                                          (4) real …property that the debtor … claims as a homestead;
                                                                                  23
                                                                                                          shall be reduced to the extent that such value is attributable to any portion
                                                                                  24                      of any property that the debtor disposed of in the 10-year period ending on
                                                                                                          the date of the filing of the petition with the intent to hinder, delay, or
                                                                                  25                      defraud a creditor and that the debtor could not exempt, or that portion that
                                                                                                          the debtor could not exempt, under subsection (b), if on such date the debtor
                                                                                  26                      had held the property so disposed of.

                                                                                  27 11 U.S.C. § 522(o)(4).

                                                                                  28

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                                                                                   1            Under § 522(o), the Court “shall” enter an order reducing the value of a debtor’s interest in

                                                                                   2 property claimed as a homestead to the extent such value can be (1) attributed to property disposed

                                                                                   3 of in the ten years preceding filing; (2) with intent to hinder, delay, or defraud a creditor; (3) that

                                                                                   4 the debtor could not otherwise exempt under § 522(b) as of the petition date. In re Anderson, 386

                                                                                   5 B.R. 315, 328 (Bankr. D. Kan. 2008), aff’d sub nom. Parks v. Anderson, 406 B.R. 79 (D. Kan.

                                                                                   6 2009).

                                                                                   7            Courts have parsed § 522(o) into the following four elements—the so-called “Corbett

                                                                                   8 test”—which elements, if met, require a reduction in the value of the homestead:

                                                                                   9            (1) the debtor disposed of the property during the ten (10) years preceding the
                                                                                                petition date;
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                                                                                  10
                                                                                                (2) the property was not exempt;
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                                                                                  11
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                                                                                                (3) some of the proceeds from the sale of the property were used to buy a new
                                                                                  12            homestead, improve an existing homestead, or reduce the debt associated with an
                                                                                                existing homestead; and
                                                                                  13
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                                                                                                (4) the debtor disposed of the property with the intent to hinder, delay, or defraud a
                                                                                  14            creditor.

                                                                                  15 In re Corbett, 478 B.R. 62, 69 (Bankr. D. Mass. 2012); see also Danussi v. Kaska, 424 B.R. 616,

                                                                                  16 619-20 (N.D.N.Y. 2010).

                                                                                  17            D.        Applying the Corbett Test.
                                                                                  18            The following is an analysis of each of the four prongs of the Corbett test. As analyzed

                                                                                  19 below, each prong of the Corbett test has been met, and the Court should reduce Kane’s

                                                                                  20 $600,000.00 homestead exemption to $0.00 pursuant to § 522(o).

                                                                                  21                      1.     The debtor disposed of the property during the ten (10) years preceding
                                                                                  22                             the petition date.
                                                                                  23            Here, Kane obtained the $600,000.00 Loan in August of 2020. See Sch. D (reflecting

                                                                                  24 $600,000.00 loan in USD); Warrington Decl., Exh. 6, MOC at 24:13-21. The equity in the

                                                                                  25 Canadian Properties that Kane encumbered with junior liens, as well as the Loan proceeds,

                                                                                  26 themselves, constitute “property” that Kane “disposed of” in August of 2020 (within 10 years of

                                                                                  27 the petition date), when he used the Loan proceeds as a partial down-payment to purchase the

                                                                                  28

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                                                                                   1 Residence and allowed Lions Properties to take ownership of the Residence via grant deed. This

                                                                                   2 prong of the Corbett test has, therefore, been met.

                                                                                   3                      2.     The property was not exempt.
                                                                                   4            Here, the “property” in question is the encumbered equity in the Canadian Properties and

                                                                                   5 the resultant $600,000.00 Loan proceeds.3 Per Kane’s schedules, his obligation to repay the Loan

                                                                                   6 was supported by junior liens (“second mortgages”), which were cross-collateralized, against both

                                                                                   7 of the Canadian Properties. Sch. A/B, D; Warrington Decl., Exh. 6, MOC at 24:16-18. At the time

                                                                                   8 of the Loan, and as of the petition date, the equity in the Canadian Properties was not exempt and

                                                                                   9 neither was the $600,000.00 in Loan proceeds. And, as of the petition date, Kane has not
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                                                                                  10 exempted any portion of the Canadian Properties or the Loan proceeds on Schedule C. See
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                                                                                  11 Schedule C, Dkt. 37 at 10 of 11. In short, Kane would have no available exemption for the equity
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                                                                                  12 or the Loan proceeds as of the petition date. Indeed, as demonstrated by Kane’s own schedules,

                                                                                  13 Kane could not exempt any portion of the $600,000.00 Loan as of the petition date because the
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                                                                                  14 Canadian Properties were not homesteads of Kane and the Loan proceeds themselves could not be

                                                                                  15 covered by any other available exemption under California law. For example, the deposit account

                                                                                  16 exemption under CCP § 704.225 could not shield the Loan proceeds because, among other things,

                                                                                  17 the Trustee’s Motion for Authority to Convey Estate’s Equity in Real Estate and Resolve Dispute

                                                                                  18 concerning Bank Accounts (Dkt. 42) already provides that Kane may only retain 50% of the

                                                                                  19 approximate $38,000.00 in existing funds on deposit as of the petition date (these funds, of course,

                                                                                  20 do not include the $600,000.00). In short, neither the equity in the Canadian Properties nor the

                                                                                  21 Loan proceeds themselves were exempt at any relevant point in time. This prong has been met.

                                                                                  22

                                                                                  23            3
                                                                                                 Per Kane’s schedules the $600,000.00 Loan was denominated in U.S. dollars; however,
                                                                                  24   in Kane’s meeting of creditors testimony, he stated that the $600,000.00 Loan was in Canadian
                                                                                       dollars. See Sch. D Dkt. 18 at 2-3 (reflecting $600,000.00 loan in U.S. dollars); cf. Warrington
                                                                                  25   Decl., Exh. 6, MOC at 24:13-24 (stating that the Loan was in “Canadian funds”). As of the filing
                                                                                       of this objection, Kane’s schedules reflect that the Loan was $600,000.00 in U.S. dollars, not
                                                                                  26   Canadian dollars. And, even if Kane were to demonstrate with credible evidence that the Loan
                                                                                       was for $600,000.00 in Canadian dollars, the analysis in this objection would still remain the
                                                                                  27
                                                                                       same, although the exemption reduction may be altered to some extent by application of an
                                                                                  28   exchange rate.


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                                                                                   1                      3.     Some of the proceeds from the sale of the property were used to buy a
                                                                                   2                             new homestead, improve an existing homestead, or reduce the debt
                                                                                   3                             associated with an existing homestead.
                                                                                   4            Although the third prong of the Corbett test speaks in terms of a “sale” of property,

                                                                                   5 section 522(o) applies more broadly to the “disposition” of non-exempt property, which could

                                                                                   6 include sales, transfers, advances against, and/or hypothecation of non-exempt property to increase

                                                                                   7 the value of a homestead with the actual intent to hinder, delay, or defraud creditors. See In re

                                                                                   8 Keck, 363 B.R. 193, 208 (Bankr. D. Kan. 2007) (finding that § 522(o) applies where debtor

                                                                                   9 improved his homestead with the proceeds of credit card advances). Courts analyzing the third
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                                                                                  10 prong of the Corbett test compare whether the disposition of non-exempt property resulted in an
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                                                                                  11 increase in value of the homestead exemption as of the petition date. See, e.g., In re Smither, 542
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                                                                                  12 B.R. 39, 49 (Bankr. D. Mass. 2015) (“In determining whether there is a value increase one looks

                                                                                  13 to the value of the home as of the bankruptcy filing date.”). If, as of the petition date, there is no
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                                                                                  14 equity or “value” in the homestead, then § 522(o) would not apply even if there were actually

                                                                                  15 fraudulent transfers. Conversely, if as of the petition date there is equity in the homestead which

                                                                                  16 is attributable to the conversion of non-exempt assets, then the third prong of the Corbett test is

                                                                                  17 met.

                                                                                  18            Here, Kane borrowed against $600,000.00 in non-exempt equity from the Canadian
                                                                                  19 Properties and used those Loan proceeds as a partial down payment for the Residence, against

                                                                                  20 which he now claims a $600,000.00 homestead exemption. These transactions fit neatly within

                                                                                  21 the third Corbett prong, as they constitute the acquisition of a “new homestead.” And, the

                                                                                  22 $600,000.00 down-payment made in August 2020 is directly attributable to the $600,000.00 + in

                                                                                  23 equity in the Residence against which equity Kane is now claiming a $600,000.00 homestead

                                                                                  24 exemption. In particular, as of the petition date, and according to Kane’s schedules, the Residence

                                                                                  25 held $680,000.00 in gross equity. See Dkt. 1. See also Warrington Decl., Exh. 5, Motion to

                                                                                  26 Approve Settlement (Dkt. 42-1) at 6 of 10 (reflecting $838,750.00 in equity in the Residence).

                                                                                  27 And, $600,000.00 of that equity is directly attributable to the $600,000.00 Loan proceeds used as a

                                                                                  28 partial down-payment on the Residence (i.e., reducing the principal balance of the first mortgage

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                                                                                   1 on the Residence and, as a result, adding dollar-for-dollar to the petition date equity in the

                                                                                   2 Residence).

                                                                                   3            Thus, the third prong of the Corbett test has been met.

                                                                                   4                      4.     The debtor disposed of the property with the intent to hinder, delay, or
                                                                                   5                             defraud a creditor.
                                                                                   6            To satisfy the fourth prong of the Corbett test, the Court must find that Kane obtained the

                                                                                   7 Loan and applied it as a partial down payment on the Residence “with the intent to hinder, delay,

                                                                                   8 or defraud” a creditor. The phrase “hinder, delay, or defraud” is a term of art, which identical

                                                                                   9 phrase appears in connection with 11 U.S.C. §§ 548(a)(1)(A) and 727(a)(2). Accordingly, the
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                                                                                  10 phrase is interpreted in the same way—in the disjunctive—to “hinder, delay, or defraud.” See
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                                                                                  11 Retz v. Samson (In re Retz), 606 F.3d 1189, 1198 (9th Cir. 2010) (“Because the language of the
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                                                                                  12 statute is in the disjunctive it is sufficient if the debtor's intent is to hinder or delay a creditor.”)

                                                                                  13 (citation omitted).
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                                                                                  14            The analysis focuses on the same “badges of fraud” used for finding actual fraud in

                                                                                  15 connection with discharge objections under § 727(a)(2) and dischargeability complaints under

                                                                                  16 § 523(a). See In re Wallwork, 616 B.R. 395, 406-07 (Bankr. D. Idaho 2020) (citations omitted).

                                                                                  17            The relevant “badges of fraud” include:

                                                                                  18            1) a close relationship between the transferor and the transferee;

                                                                                  19            2) that the transfer was in anticipation of a pending suit;

                                                                                  20            3) that the transferor Debtor was insolvent or in poor financial condition at the
                                                                                                time;
                                                                                  21
                                                                                                4) that all or substantially all of the Debtor’s property was transferred;
                                                                                  22
                                                                                                5) that the transfer so completely depleted the Debtor’s assets that the creditor has
                                                                                  23            been hindered or delayed in recovering any part of the judgment; and

                                                                                  24            6) that the Debtor received inadequate consideration for the transfer.

                                                                                  25 Id. (citations omitted). See also Cal. Civ. Code § 3439.04(b) (listing “badges of fraud” under

                                                                                  26 California’s Uniform Voidable Transactions Act). “Whatever badges of fraud a court uses, no

                                                                                  27 particular badge is necessary, nor is any combination sufficient.” In re Halinga, 2013 WL

                                                                                  28 6199152, at *6 (Bankr. D. Idaho 2013) (citation omitted).

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                                                                                   1            The badges of fraud analysis centers on the debtor’s subjective knowledge and intent

                                                                                   2 leading up to the date of the transfers in question, including whether the debtor consulted with

                                                                                   3 legal counsel in planning to invoke the exemption. See id. (analyzing whether debtor was aware of

                                                                                   4 or served with complaint or served with judgment at the time of the transfer or was aware of the

                                                                                   5 relevant homestead exemption); see also In re Lacounte, 342 B.R. 809, 815-16 (Bankr. D. Mont.

                                                                                   6 2005) (finding that § 522(o) applied when debtors sold assets to insiders after seeking the advice

                                                                                   7 of bankruptcy counsel).

                                                                                   8            Here, the analysis centers on the facts and circumstances in the time period leading up to

                                                                                   9 the “transfer”—i.e., the August 2020 Loan. The following timeline and observations indicate that
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                                                                                  10 Kane (perhaps upon the advice of his bankruptcy counsel, Pachulski Stang, which counsel Kane
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                                                                                  11 states he hired in October 2019), converted $600,000.00 in non-exempt assets into putatively
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                                                                                  12 exempt assets with the intent to hinder, delay, or defraud his then-known creditors, at a time when

                                                                                  13 Kane was insolvent, being sued by several creditors, and experiencing massive gambling losses.
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                                                                                  14                                                 Timeline

                                                                                  15            In October 2019, Kane states that “Because of concern over my ability to meet my debt

                                                                                  16 obligations, I hired John Fiero of Pachulski Stang Ziehl & Jones in October 2109.” Kane Decl.,

                                                                                  17 Dkt. 65-1 at 2:23-24. Per Kane, the goal was to reach an agreement regarding “restructuring of my

                                                                                  18 debts” and “figuring out what might be feasible in terms of a payment plan.” Kane Decl., at 2:24-

                                                                                  19 25; 3:1-2.

                                                                                  20            In December 2019, Zions sued Kane in Santa Clara Superior Court in a breach of contract

                                                                                  21 action captioned Zions Bancorporation, N.A. v. Kane, Case No. 19CV360613 (“Zions Action”).

                                                                                  22            In January 2020, assembly bill AB1885—providing for a $600,000.00 homestead

                                                                                  23 exemption based on median sale price of a single family home—was first introduced to the

                                                                                  24 California State Assembly.

                                                                                  25            At least by February of 2020, Kane had appeared in the Zions Action (he later filed his

                                                                                  26 answer on June 9, 2020).

                                                                                  27            On May 26, 2020, Kane formed Lions Properties, LLC, designating himself and his wife

                                                                                  28 as 100% interest-holders. See Warrington Decl., Exh. 1, FL SOS Corporate Filing; Schedule B

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                                                                                   1 (Dkt. 1 at 14 of 73). Kane formed Lions Properties for the “sole purpose of taking title to the

                                                                                   2 [Residence].” Warrington Decl., Exh. 5, Recital B to Settlement Agreement Dkt. 42-1 at 5 of 10.

                                                                                   3            In June 2020, AB1885 passed the State Assembly and crossed over to the Senate where it

                                                                                   4 passed in August of 2020.

                                                                                   5            As of August 2020, Kane was aware that he had numerous lawsuits (at least nine different

                                                                                   6 lawsuits are listed in Kane’s Statement of Financial Affairs, Dkt. 1 at 49 of 73) pending against

                                                                                   7 him, including, but not limited to the Zions Action and:

                                                                                   8

                                                                                   9            •    Parker v. Kane, Los Angeles Superior Court Case No. 18SMCV00095, contractual
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                                                                                  10                 fraud action commenced in 2018, Kane filed answer on June 26, 2019.
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                                                                                  12            •    Centennial Bank v. Kane, Santa Clara Superior Court Case No. 20CV364167, breach
                                                                                  13                 of contract commenced on February 25, 2020, Kane’s answer was filed on August 14,
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                                                                                  14                 2020.

                                                                                  15

                                                                                  16            Per Kane’s statements and schedules and testimony at the meeting of creditors, in August

                                                                                  17 2020, Kane obtained a $600,000.00 Loan—the exact amount of the proposed homestead per

                                                                                  18 AB1885 which had passed Stated Assembly in June 2020. See Sch. D (reflecting $600,000.00 loan

                                                                                  19 in USD); cf. Warrington Decl., Exh. 6, MOC at 24:13-24 (stating that the Loan was in “Canadian

                                                                                  20 funds”). And, per Kane, those proceeds were used as a partial down-payment for the Residence.

                                                                                  21 Warrington Decl., Exh. 6, MOC at 24:13-24.

                                                                                  22            On August 21, 2020, ten days before AB1885 passed California’s senate, a Grant Deed

                                                                                  23 was recorded which transferred the Residence to Lions Properties. See Warrington Decl., Exh. 3,

                                                                                  24 Grant Deed.

                                                                                  25            On September 15, 2020, AB1885 was signed into law by Governor Newsom, with the

                                                                                  26 $600,000.00 homestead amount being codified at CCP § 704.730, and which became effective on

                                                                                  27 January 1, 2021.

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                                                                                   1            And, on January 8, 2021, Kane singed a quitclaim deed on behalf of Lions Properties,

                                                                                   2 quitclaiming the Residence to Kane and his wife the day before he filed chapter 7. See Warrington

                                                                                   3 Decl., Exh. 4, Quitclaim Deed.

                                                                                   4                                                Observations

                                                                                   5            Lions Properties was a shell entity that Kane used to hide his Residence (i.e., to hinder,

                                                                                   6 delay, and arguably defraud his then-known creditors—many of whom were suing him for, among

                                                                                   7 other things, breach of contract and fraud). Lions Properties is an entity that Kane owned 100%

                                                                                   8 with his wife. Lions Properties is, therefore, a statutory insider of Kane. See In re Vill. at

                                                                                   9 Lakeridge, LLC, No. BAP NV-12-1456, 2013 WL 1397447, at *4 n.8 (B.A.P. 9th Cir. Apr. 5,
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                                                                                  10 2013), aff’d sub nom. In re The Vill. at Lakeridge, LLC, 814 F.3d 993 (9th Cir. 2016), aff’d sub
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                                                                                  11 nom. U.S. Bank Nat. Ass’n ex rel. CWCapital Asset Mgmt. LLC v. Vill. at Lakeridge, LLC, 138 S.
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                                                                                  12 Ct. 960, 200 L. Ed. 2d 218 (2018), and aff’d sub nom. In re The Vill. at Lakeridge, LLC, 634 F.

                                                                                  13 App’x 619 (9th Cir. 2016) (citing 11 U.S.C. § 101(9)(A)(4); In re Longview Aluminum, LLC, 657
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                                                                                  14 F.3d 507, 509 n. 1 (7th Cir. 2011) (holding that the definition of “corporation” in the Bankruptcy

                                                                                  15 Code’s insider definition includes limited liability companies). Kane testified that Lions Properties

                                                                                  16 no longer operates and has no assets. Sch. A/B at 14 of 73; Warrington Decl., Exh. 10, MOC at

                                                                                  17 20:7-10.

                                                                                  18            Viewing the overall effect of these pre-bankruptcy transactions, Kane ended up siphoning

                                                                                  19 $600,000.00 in nonexempt equity from the Canadian Properties (in which is wife previously had

                                                                                  20 no apparent interest) and then transferring 50% of that equity to his wife (via intermezzo transfer

                                                                                  21 to Lions Properties and then to Kane and his wife, jointly) on the eve of bankruptcy for no

                                                                                  22 consideration. Indeed, Kane’s wife did not own any interest in the Canadian Properties, but rather

                                                                                  23 Kane testified that he owned the Isabel Place Property outright and he jointly owned the 35th

                                                                                  24 Avenue Property with his mom, Sherri Lynn Kane. Warrington Decl., Exh. 7, MOC 29:16-22;

                                                                                  25 30:14-18; see also Sch. D Dkt. 18.

                                                                                  26            And, per Kane’s schedules, the Residence has $680,000.00 in equity, $600,000.00 of

                                                                                  27 which Kane is shielding by claiming a homestead exemption under CCP § 704.730. See also

                                                                                  28

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                                                                                   1 Motion to Approve Settlement Dkt. 42-1 at 6 of 10 (reflecting $238,750.00 in equity in the

                                                                                   2 Residence above the $600,000.00 homestead exemption).

                                                                                   3            Kane’s conversion of $600,000.00 in non-exempt equity and Loan proceeds into a

                                                                                   4 $600,000.00 homestead exemption depleted assets which would have otherwise been available to

                                                                                   5 satisfy creditors—i.e., the transfer unquestionably resulted in the complete hindrance (not to

                                                                                   6 mention delay) of creditor recoveries that would have otherwise been available to satisfy a

                                                                                   7 judgment. This transfer was, effectively, a transfer of substantially all of Kane’s available (i.e.,

                                                                                   8 non-exempt) assets.

                                                                                   9            In addition, Kane’s own summary of assets and liabilities reflects that Kane is balance
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                                                                                  10 sheet insolvent, with total assets of $10,224,743.65 and total liabilities of $26,837,340.00. See
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                                                                                  11 Dkt. 1 at 8 of 73. In addition, Kane’s own testimony indicates that as of October 2019, that he had
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                                                                                  12 “concern over my ability to meet my debt obligations” which caused him to hire prominent

                                                                                  13 bankruptcy counsel at Pachulski Stang in October of 2019. Kane Decl., Dkt. 65-1 at 2:23-25.
                                                   (323) 852-1000




                                                                                  14            During the same timeframe when Kane was insolvent and siphoning available equity out of

                                                                                  15 his Canadian Properties to take advantage of California’s new homestead exemption, he admits

                                                                                  16 that he incurred $1,500,000.00 in gambling losses. SOFA Dkt. 19 at 6 of 9. Kane’s incurring

                                                                                  17 significant gambling losses during a time when he was concurrently effectuating “exemption

                                                                                  18 planning” to hid substantially all of his available assets from creditors comes squarely within the

                                                                                  19 type of “mansion loophole” that § 522(o) was designed to curtail. See, e.g., In re Lacounte, 342

                                                                                  20 B.R. at 815-16 (finding that § 522(o) applied where a debtor concealed assets to prevent collection

                                                                                  21 after insolvency caused by gambling losses).

                                                                                  22            In sum, almost every badge of fraud is present. In particular, the transfers of the Loan

                                                                                  23 proceeds to Lions Properties and then the transfer of the Residence from Lions Properties to Kane

                                                                                  24 were transfers between statutory insiders. The transfers were made while numerous lawsuits were

                                                                                  25 pending against Kane, of which he was fully aware. The transfers were made while Kane was

                                                                                  26 balance sheet insolvent (as inferred from his schedules).

                                                                                  27            The fact that the Loan is $600,000.00 and the timing of the formation of Lions Properties

                                                                                  28 and the transfers of the Loan proceeds makes the inference unavoidable: Kane was planning to

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                                                                                   1 shield non-exempt assets from creditors by invoking the $600,000.00 homestead exemption to

                                                                                   2 cover the $600,000.00 equity infusion into the Residence (which equity would not have otherwise

                                                                                   3 existed). It is notable that Kane was represented in state court litigation by bankruptcy counsel at

                                                                                   4 Pachulski Stang. It is also notable that Kane’s homestead was a “new” homestead. He had

                                                                                   5 previously rented, not owned, his residences.

                                                                                   6            In Short, the evidence demonstrates that Kane subjectively intended, indeed planned, to

                                                                                   7 convert the equity in his Canadian Properties into a $600,000.00 homestead exemption as a means

                                                                                   8 to hinder, delay, and defraud his creditors. By a series of surreptitious and eve-of-bankruptcy

                                                                                   9 transactions, including the use of a shell entity in Florida, Kane actively concealed and converted
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                                                                                  10 available assets from his creditors—many of whom were suing him at the time.
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                                                                                  11            Kane did all of this while he was insolvent, which insolvency was caused by, among other
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                                                                                  12 things, $1.5 million in gambling losses for the year 2020, alone. Kane has acknowledged prior

                                                                                  13 gambling losses, but could not remember how much those losses were. Warrington Decl., Exh. 6,
                                                   (323) 852-1000




                                                                                  14 MOC 24:4-12.

                                                                                  15            Therefore, the fourth prong of the Corbett test has been met.

                                                                                  16                                          Conclusion as to § 522(o)

                                                                                  17            As a result of the foregoing analysis, Kane unquestionably converted every penny of the

                                                                                  18 $600,000.00 Loan into his homestead exemption with the actual intent to hinder, delay, or defraud

                                                                                  19 his creditors. Accordingly, under § 522(o), Kane’s entire homestead exemption of $600,000.00

                                                                                  20 should be reduced to $0.00, and that equity should be made available to creditors of Kane’s estate.

                                                                                  21            E.        Alternative Analysis Under § 522(p).
                                                                                  22            Section 522(p) of the Code provides, in pertinent part, as follows:

                                                                                  23            (p)(1) … as a result of electing under subsection (b)(3)(A) to exempt property
                                                                                                under State or local law, a debtor may not exempt any amount of interest that was
                                                                                  24            acquired by the debtor during the 1215-day period preceding the date of the filing
                                                                                                of the petition that exceeds in the aggregate $170,350 in value in—
                                                                                  25
                                                                                                          ….
                                                                                  26

                                                                                  27                      (D) real … property that the debtor …claims as a homestead….

                                                                                  28 11 U.S.C. § 522(p).

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                                                                                   1            California has opted out of the federal system. Cal. Civ. Proc. Code § 703.130. Although

                                                                                   2 there is some lower-court disagreement as to whether § 522(p) applies in so-called opt-out states,

                                                                                   3 such as California, Zions believes the better reasoned cases would hold that § 522(p) does apply in

                                                                                   4 California. Compare In re McNabb, 326 B.R. 785, 788 (Bankr. D. Ariz. 2005) (finding that

                                                                                   5 § 522(p) does not apply in opt-out states because no election is made in opt-out states so the

                                                                                   6 introductory language to § 522(p) “as a result of electing” can apply only in non-opt out states,

                                                                                   7 i.e., those states where such an election is available) with In re Rasmussen, 349 B.R. 747, 752

                                                                                   8 (Bankr. M.D. Fla. 2006) (rejecting McNabb’s reasoning).

                                                                                   9            Unlike § 522(o), under § 522(p), the debtor’s intent is not relevant. The effect of § 522(p)
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                                                                                  10 is to impose a $170,350.00 cap on a newly acquired homestead (i.e., one not rolled-over from a
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                                                                                  11 different homestead and which is acquired within 1,215 days of the petition date). Assuming that
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                                                                                  12 § 522(p) applies in California, as Zions urges the Court to find, and further assuming that Kane’s

                                                                                  13 exemption is not completely disallowed under § 522(o), then it should be capped at $170,350.00,
                                                   (323) 852-1000




                                                                                  14 per § 522(p) based on the above-listed undisputed facts.

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                                                                                   1 V.         Conclusion4
                                                                                   2            For the foregoing reasons, Zions requests that the Court enter an order pursuant to § 522(o)
                                                                                   3 disallowing Kane’s entire $600,000.00 homestead exemption. In the alternative, Zions requests

                                                                                   4 that the Court enter an order reducing Kane’s homestead exemption to $170,350.00 pursuant to

                                                                                   5 § 522(p).

                                                                                   6 DATED: March 25, 2021                        Respectfully submitted,

                                                                                   7                                              FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                                                                                                  MICHAEL GERARD FLETCHER
                                                                                   8
                                                                                                                                  GERRICK M. WARRINGTON
                                                                                   9
FRANDZEL ROBINS BLOOM & CSATO, L.C.




                                                                                  10
                                                                                                                                  By:
                                      1000 WILSHIRE BOULEVARD, NINETEENTH FLOOR




                                                                                                                                               /s/ Michael Gerard Fletcher
                                                                                  11                                                    MICHAEL GERARD FLETCHER
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                                                                                  12                                                    Attorneys for creditor Zions Bancorporation, N.A.

                                                                                  13
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                                                                                              Zions expressly reserves the right to object to claims of “exemptions” in Kane’s “wages”
                                                                                  27
                                                                                     or “earnings” which assertions have been mentioned informally in court filings, but which are not
                                                                                  28 reflected on Schedule C as being claimed exemptions.

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